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UNITED STATES BANKRUPTCY COURT
DISTRICT OF MASSACHUSETTS

In re:
Westborough SPE LLC Chapter 7
23-40709-CJP

Debtor

ORDER

MATTER:
#229 Motion filed by Creditor Lolonyon Akouete to Compel Release of Appraisal and Related
Documents.

Denied.

Lolonyon Akouete (the "Movant") appears to be seeking an order compelling discovery from the Town
of Westborough and others, but it does not appear that the Movant has served any discovery requests. It
appears that Movant believes that the Town has information that may be relevant to Movant's
opposition [ECF No. 191] to a motion filed by the Chapter 7 Trustee to compromise certain claims of
the estate [ECF No. 190]. The Movant represents that he has made informal requests that certain
documents be produced to him, which have been denied. After filing his opposition on July 11, 2024,
the Movant became entitled to serve discovery in relation to that contested matter. See Fed. R. Bankr. P.
9014(c). Apparently, he has not served formal discovery. The Court may not "compel" a response to
discovery that has not been served.

The Movant may request subpoenas from the Clerk of Court to be issued to specific parties identified in
the Motion, subject to any appropriate objections. The Court encourages the Town of Westborough to
consider producing responsive information, not otherwise subject to objection, as soon as possible.
Otherwise, the Court will consider the necessity of discovery at the hearing on approval of the proposed
compromise.

Dated: 08/09/2024 By the Court,

ifs then

Christopher J. Panos
United States Bankruptcy Judge

